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ClTY OF NEW ORLEANS
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LATOYA CANTRELL SUNNI L€BEOUF
MAYOR CITY ATTORNEY

December 6, 2018

Via Email susiemorgan@]aed.uscourts.gov & U.S. Mail
The Honorable Susie Morgan

United States District Court

Eastem District Court of Louisiana

500 Poydras Street, Room C322

New Orleans, Louisiana 70130

Via Email jude.volek@usdo[.gov & U. S. Mail
Mr. Jude James Volek

United Stated Department of Justice
950 Pennsylvania Avenue, NW
Washington, DC 20530-0001

Via Emal`l iaronie@sheppardmullin.com & U.S. Mail
Mr. Jonathan S. Aronie

Sheppard Mullin Richter and l-lampton, LLP

2099 Pennsylvania Avenue, NW Suite 100
Washington, DC 20006-6801

Re: Unifed States ofAmerica v. City of New Orleans, CA. No. 12-1924
(New Orleans Police Department Consent Decree)

Dear Judge Morgan, Mr. Volek and Mr. Aronie:

l Write on behalf of the City of New Orleans, the Mayor and New Orleans City Council,
and the NeW Orleans Police Depaitment (“NOPD” or the “Department”) (collectively, the “City”),
regarding the referenced matter. The purpose of this correspondence is to object to the proposed
January 25 , 2019 televised public hearing in this ongoing litigation matter. The City further objects
to NOPD’s participation in a televised public hearing in advance of a compliance determinationl
The City has no objection to the public hearings ordinarily occurring in United States District
Court Which are open to the public but not televised. The City respectfully suggests that a televised
public hearing should more appropriately occur concurrent With a compliance determinationl The
City believes such a determination is ripe to occur in the very near future as illustrated by the
NOPD Compliance Bureau’s assessment, Which currently shows NOPD to be at 93% compliance.

As you know, NOPD has unequivocally emerged as a nationwide leader on police reform,
With NOPD personnel currently traveling around the country training and Working with other

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AN EQUAL OPPORTUN[TY EMPLOYER

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departments on police reform efforts. This speaks to its success as a Department committed to
accomplishing constitutional policing, while simultaneously ensuring public safety, and working
with other police departments around the country in their efforts to accomplish the same.

The City of New Orleans is extremely proud of the turnaround reforms accomplished by
the Departrnent through the tireless, dedicated, and hardworking efforts of Chief Michael Harrison
and the men and women of NOPD. Notably, these successful reforms have only been made
possible through the City’s continuing financial and manpower investment in the Department,
while working in collaboration with the Court, monitors, parties and stakeholders. These
investments date back to at least 2013, with substantial progress beginning in 2014 under Chief
Harrison’s leadership The goal is and has always been, to accomplish compliance, and more
importantly, to accomplish continuous and sustained improvement in constitutional policing We
believe NOPD has accomplished continuous and sustained improvement in constitutional policing,
as required by the Consent Decree’s outcome measures

ln further illustration of the City’s ongoing commitment to the reforms outlined in the
Consent Decree, it should be noted the City will have spent approximately $10,275,674.00 on
Court appointed monitoring team fees and costs alone, over the life of the Consent Decree. The
monitoring team is comprised of approximately ten (10) individuals (lawyers, academies and
retired police chiefs from other jurisdictions) some of whom fly in monthly, at the City’s expense.
From 2013 to date, monitoring costs to the City have included, but are not limited to, the Court
appointed monitors’ hourly billing fees (ranging from $468/hr per monitor to $243/hr per monitor),
the Court appointed monitors’ monthly airfare/travel costs (ranging monthly depending on the date
of purchase, time of year, holiday, festival, etc.), the Court appointed monitors’ monthly Sheraton
Hotel costs (ranging monthly), the Court appointed monitors’ daily meals while in New Orleans
(costs range monthly), and the Court appointed monitors’ monthly ground transportation costs
(Uber and taxi costs vary monthly). On average, the City has paid approximately $161,360.00 per
month in Court-appointed monitoring fees and costs, without a substantive reduction in costs,
dating back to 2013.

The Court appointed monitors are paid directly by the City and have been invaluable in
assisting the Department with achieving successful reforms. However, the monitors take orders
from, and report directly to, the Judge (and not the City). Thus, it is difficult for the City to manage
the monitors’ billing and associated costs in a manner which ensures that they are only working
on Consent Decree/constitutional policing related issues, and not on NOPD and/or City
management related matters - which NOPD and/or City personnel should handle exclusively The
Consent Decree stipulates the Court appointed monitors shall not replace or assume the role and
duties of the City and NOPD, including the Superintendent. Yet, it appears that lines have been
blurred over the years, and the City’s questions about certain matters in which the monitors and
Court are currently dedicating time and resources are often met with disdain.

While the City is responsible for bearing all “reasonable” costs for the monitors, the City
asks that the Court and the monitors direct all monitoring efforts to Consent Decree/constitutional
policing issues only. The City specifically objects to the Court and/or the monitors exercising
authority over City Departrnents, including decisions regarding City contracts, office set-up, and

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other such particulars, as well as any and all NOPD responsibilities that are not related to
constitutional policing, as set forth in the Consent Decree (e.g., deployment strategies, etc).

To provide some additional context regarding the City’s financial investment Consent
Decree spending is expected to total $55,047,293.00 by the end of 2019 (over the life of the
Consent Decree). lmportantly, however, these monetary amounts pale in comparison to the
ongoing investment of NOPD time, energy, manpower and resources dedicated to accomplishing
the work of the Consent Decree. NOPD personnel meets with and reports to the Court at least
monthly, meets with and reports to the monitors at least monthly, host the monitors during their
recurring and continuing NOPD visits, and on some occasions, host the United States District
Court .ludge during unannounced visits to NOPD offices

Because the Consent Decree is ongoing litigation, the City specifically requests the
following: l) the City Attorney (or her designee) be copied on any and all correspondence, which
includes correspondence to NOPD, as well as correspondence to personnel with any and all City
departments; 2) the City Attorney (or her designee) be advised of any scheduled meetings with
the Court and/or with the monitors; and 3) the work of the monitors be focused exclusively on
accomplishing the work of the Consent Decree/constitutional policing matters going forward

The City wholly, and without reservation, remains committed to the monumental reforms
accomplished by our very own NOPD. The City reiterates its commitment to ensuring that NOPD
is equipped with the tools and resources necessary to ensure the Department’s success and
constitutional policing efforts, notwithstanding the City’s limited resources. The men and women
of the Department have made us proud, and we are collectively obligated to acknowledge their
accomplishments as a model Department, and will look forward to doing so via a televised
proceeding concurrent with a substantial compliance or compliance determination in the near
future While there are many criticisms associated with consent decrees, NOPD stands as a model
of what can be accomplished through collaboration, and a dedicated commitment to getting it right
We trust that NOPD will be appropriately acknowledged for their hard work, dedication,
collaboration, and commitrnent, in the very near future, and that all of our collaborative partners
are committed to same.

 

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We want the men and women of NOPD to know that we stand with them, and
wholeheartedly commend them, for their accomplishments in elevating the Department to heights
admired by other Departments throughout the Country.

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CHIEF OF POLICE ICHAEL HARRISON
NEW ORLEANS P CE DEPAR'I`MENT

     
 

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‘ ` IDENT,JASON WILLIAMS

, ~ EL ENA MORENO

CITY OF NEW ORLEANS

cc: The New Orleans City Council
Chief Administrative Officer, City of New ()rleans

